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                                                                                             January 23, 2024

Hon. Michael J. Roemer
United States Magistrate Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buﬀalo, New York 14202

        Re:      Consumer Financial Protection Bureau, et al. v. StratFS, LLC, et al.
                 Case No. 24-cv-40

Dear Judge Roemer:

       We are writing to bring the Court’s attention to three urgent matters that we believe merit a
hearing before Your Honor at the earliest opportunity. We have presented these issues to the
Government through several emails and are submitting this letter in an effort to be as efficient as possible
because all parties in this case are operating under an expedited timeline. We seek rulings from Your
Honor on three points.

         First, Defendants respectfully ask this Court to enter a protective order that will allow the parties
(and non-parties) to produce documents and information in discovery on a confidential basis. Such an
order is necessary in this case. Plaintiffs have served voluminous discovery requests upon Defendants and
many third parties. Those requests seek production of documents that contain highly confidential and
sensitive information about Defendants and the clients represented by the intervening law firms in this
case. Defendants stand ready to respond to such discovery but should not be required to do so without
an appropriate protective order. In addition, Plaintiffs have asked many of the Defendants to produce
financial disclosures that ask Defendants to detail every aspect of their and their families’ financial lives -
- highly sensitive and personal information. Again, those disclosures should be made subject to a
protective order.

        Defendants have prepared a draft protective order (see attached ) and provided it to Plaintiffs for
their review. Plaintiffs responded that they have not had sufficient time to review this proposed order
and several (unspecified) provisions were unacceptable. Because discovery responses are due and
depositions are scheduled to begin tomorrow, it is critical that an order be entered to allow discovery to
proceed expeditiously.

        Second, Defendants respectfully ask this Court to make it clear that all parties – not just the
Government – may conduct expedited discovery in advance of the February 1-2 hearing. During the past
two days, the Government has engaged in a discovery barrage. It has served over 60 deposition notices,
scheduling overlapping depositions in five different cities, numerous third-party document subpoenas,
and at least a dozen sets of broad discovery on Defendants.

       The Government, however, contends that Defendants have no right to conduct discovery of their
own. The Government contends that Section XXIII of this Court’s TRO permits Plaintiffs to conduct
expedited discovery into five relatively narrow topics (which the Defendants contend the Government is
exceeding by scheduling over 60 depositions). To be sure, the ex parte TRO was undoubtedly drafted by
the Government and refers only to “Plaintiffs” in its description of allowable expedited discovery. But that
cannot be allowed to stand. Defendants are fighting for their professional lives and should be entitled to

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due process given the severity of the allegations and demand for restitution. The Government is accusing
Defendants of widespread fraud, is seeking millions of dollars, and is sparing no expense in labelling
Defendants as swindlers and con artists in court filings and press releases. Moreover, the Government has
had years to prepare its case. By contrast, Defendants have only a few days (and much of their access to
information has been cut off by the Receiver). Fundamental fairness dictates that Defendants be
permitted to engage in expedited discovery on the same five topics as the Government. Frankly, given the
stakes at issue, it is highly surprising that the Government is disputing this point and requiring Defendants
to approach the Court on this point.

         Third, Defendants and Intervenors seek a modification to the existing TRO. As the Court may
know, , the Receiver ini�ally closed SFS en�rely. In the past couple of days, however, he has agreed to
allow a “skeleton staﬀ” to operate within SFS and provide a limited level of service to the law ﬁrms. That
is certainly a step in the right direc�on. However, we ask the Court to require the Receive to take an
addi�onal step (and one that is without cost ).

        As Your Honor knows, the various law ﬁrms that have contracts with SFS are currently not taking
fees from clients. Despite that, the law ﬁrms want to con�nue providing service to their clients, including
li�ga�on defense, setlement administra�on, document processing, and debt nego�a�on. Con�nuing
those services is cri�cal to the law ﬁrms’ representa�on of those clients. Unfortunately, the law ﬁrms’
nego�ators are not currently able to nego�ate debts for consumer clients because they lack access to data
housed at SFS (including access to SFS’s Salesforce and SAM systems) and a backlog of document
processing, client call inquiry management and li�ga�on support con�nues to grow. Law ﬁrm clients are
now experiencing hold �mes of nearly six hours and a backlog of nearly 27,000 unprocessed no�ces from
creditors and other documents rela�ng to li�ga�on. This directly harms the law ﬁrms’ consumer clients
because they will miss setlement opportuni�es. And missed setlements will lead to addi�onal li�ga�on
against those same clients.

         We have asked the Receiver to provide the access iden�ﬁed above, but he has refused to do so.
Thus, we seek Court interven�on. Because the nego�ators are employed by the law ﬁrms (not by SFS),
there will be no addi�onal cost to the Receiver in providing this access, and the beneﬁts to the ﬁrms’
clients will be signiﬁcant.

         It also appears the Receiver has begun communica�ng directly with law ﬁrm clients without the
law ﬁrms’ permission. The Receiver has placed a banner on the law ﬁrms’ portals that advises the clients
of interrup�ons in service. The Receiver has apparently sent a communica�on to at least some law ﬁrm
clients that advises them of this lawsuit and concludes that “the receiver’s team” will provide them with
future updates. With all due respect to the Receiver, the law ﬁrms – not the Receiver – are en�tled to
control the content and form of no�ces to their clients. We ask the Court to order the Receiver to
immediately remove the banner from the portals and cease and desist from further mass communica�ons
with law ﬁrm clients.

        We thank the Court for its though�ul considera�on in this mater.

Respec�ully,


        /s/ Dennis C. Vacco              /s/ Terrence M. Connors
        Dennis C. Vacco                  Terrence M. Connors

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